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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Dean Santos, et al., Case No 3:22-cv-00855-SK
Plaintiff(s),
CONSENT OR DECLINATION
V. TO MAGISTRATE JUDGE
JURISDICTION

National Football League, Inc., et al.,

Defendant(s).

 

INSTRUCTIONS: Please indicate below by checking one of the two boxes whether you (if you
are the party) or the party you represent (if you are an attorney in the case) choose(s) to consent
or decline to magistrate judge jurisdiction in this matter. Sign this form below your selection.

Yi CONSENT to Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
United States magistrate judge conduct all further proceedings in this case, including trial and
entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
United States Court of Appeals for the Ninth Circuit.

OR

L] DECLINE Magistrate Judge Jurisdiction

In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
magistrate judge conduct all further proceedings in this case and I hereby request that this case be
reassigned to a United States district judge.

DATE: February 23 20 22 NAME: Kyle P. Quackenbush

 

 

/s/ Kyle P. Quackenbush

Signature

 

COUNSELFOR
(OR “PRO SE”): Plaintiffs Dean Santos, Lesia Dunn,

and Kimberly Ann Marckmann
